                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

                                    DOCKET NO. 3:11cr373-FDW

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
                                                 )
               v.                                )               PRELIMINARY ORDER
                                                 )                 OF FORFEITURE
(7) ZAFER RAMADAN KAFOZI,                        )
                                                 )
                       Defendant.                )

        The bill of indictment in this case charged Defendant with a violation of 18 U.S.C. § 371.

The indictment also provided notice that property was subject to forfeiture pursuant to 18 U.S.C.

§§ 981 and 2461, and specifically referenced proceeds, specific assets, and a judgement of

forfeiture.

        Defendant entered into a plea agreement, and subsequently pled guilty to count one in the

bill of indictment. He was adjudged guilty of the offense charged in that count. In the plea

agreement and pursuant to statements at the plea hearing, Defendant agreed to forfeit specific

property as described below. For purposes of Fed. R. Crim. P. 32.2 and based on the indictment and

plea of guilty the Government has established required nexus and the amount of the money

judgment.

        It is therefore ORDERED:

        1.     Based upon Defendant’s plea of guilty, the United States is authorized to seize the

following property belonging to Defendant, and it is hereby forfeited to the United States for

disposition according to law; provided, however, that such forfeiture is subject to any and all third

party claims and interests, pending final adjudication herein:




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        Approximately $80,000 in United States funds received from the Defendant on or about
        February 15, 2012; and

        One 2011 Mercedes Passenger S550 VIN# WDDNG7BB8BA364212, registered in the
        name of Racha Issam Alhawach.

        2.      Based upon 18 U.S.C. § 982, this Order shall constitute a money judgment for the

following:

        A monetary judgment in the amount of $1,288,922, which represents the amount of
        proceeds obtained, directly and indirectly from the offenses alleged in the bill of
        indictment and reasonably foreseeable to the Defendant.

        3.      Pursuant to 21 U.S.C. § 853(n)(1), the Government shall publish notice of this Order;

notice of its intent to dispose of the property in such manner as the Attorney General may direct; and

notice that any person, other than the Defendant, having or claiming a legal interest in any of the

above-listed forfeited property must file a petition with the Court within thirty days of the final

publication of notice or of receipt of actual notice, whichever is earlier. This notice shall state that

the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged interest in the

property, shall be signed by the petitioner under penalty of perjury, and shall set forth the nature and

extent of the petitioner’s right, title or interest in each of the forfeited properties and any additional

facts supporting the petitioner’s claim and the relief sought. The Government may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest in property

that is the subject of this Order of Forfeiture, as a substitute for published notice as to those persons

so notified.

        4.      Upon adjudication of all third-party interests, this Court will enter a final order of

forfeiture pursuant to 21 U.S.C. § 853(n).




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       5.      The Government may, at any time, move pursuant to Rule 32.2(e) to amend this

Order of Forfeiture as to substitute property to satisfy the money judgment in whole or in part.

       SO ORDERED.                               Signed: September 27, 2012




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